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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


THOMAS MASSIE, et al.,

                               Plaintiffs,

                       v.                                Case No. 1:21-cv-02023-RBW

NANCY PELOSI, et al.,

                               Defendants.


                                                NOTICE

       Defendants Nancy Pelosi, William J. Walker, and Catherine Szpindor respectfully inform

the Court that on February 28, 2022, the Speaker of the House pro tempore announced the

following:

       Consistent with updated guidance from the Attending Physician, the Chair wishes
       to inform Members that masks are no longer required in the Hall of the House.
       The Chair would further note that all Members and staff may continue to wear
       masks at their discretion. This announcement is incorporated within the policy on
       conduct during a covered period of January 4, 2021, and supersedes all other
       announced policies that are in conflict.

168 Cong. Rec. H1151 (daily ed. Feb. 28, 2022).

       This announcement does not affect fines previously assessed to any Members for

violations of the mask policy then in effect.
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                                   Respectfully submitted,

                                   /s/ Douglas N. Letter
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                                   Walker, and Catherine Szpindor
March 8, 2022




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2022, I caused the foregoing document to be filed via

the CM/ECF system for the U.S. District Court for the District of Columbia, which I understand

caused a copy to be served on all registered parties.



                                                        /s/ Douglas N. Letter
                                                        Douglas N. Letter
